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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

   David J. Smith                                                                     For rules and forms visit
   Clerk of Court                                                                     www.ca11.uscourts.gov


                                          November 27, 2023                                             JG

   Clerk - Southern District of Florida                                                   Nov 27, 2023
   U.S. District Court
   400 N MIAMI AVE                                                                                         MIAMI
   MIAMI, FL 33128-1810

   Appeal Number: 22-11150-GG
   Case Style: Ira Kleiman v. Craig Wright
   District Court Docket No: 9:18-cv-80176-BB

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Clerk's Office Phone Numbers
   General Information: 404-335-6100          Attorney Admissions:         404-335-6122
   Case Administration: 404-335-6135          Capital Cases:               404-335-6200
   CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                                        In the
                    United States Court of Appeals
                             For the Eleventh Circuit
                               ____________________

                                     No. 22-11150
                               ____________________

           IRA KLEIMAN,
           as the Personal Representative of the
           Estate of David Kleiman,
                                                         Plaintiﬀ-Appellant,
           W&K INFO DEFENSE RESEARCH, LLC,
                                                                    Plaintiﬀ,
           versus
           CRAIG WRIGHT,


                                                       Defendant-Appellee.


                               ____________________

                     Appeal from the United States District Court
                         for the Southern District of Florida
                          D.C. Docket No. 9:18-cv-80176-BB
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                               ____________________

                                     JUDGMENT
           It is hereby ordered, adjudged, and decreed that the opinion is-
           sued on this date in this appeal is entered as the judgment of this
           Court.
                               Entered: October 26, 2023
                     For the Court: DAVID J. SMITH, Clerk of Court


           ISSUED AS MANDATE: November 27, 2023
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                                                    [DO NOT PUBLISH]
                                        In the
                    United States Court of Appeals
                             For the Eleventh Circuit

                               ____________________

                                     No. 22-11150
                               Non-Argument Calendar
                               ____________________

           IRA KLEIMAN,
           as the Personal Representative of the
           Estate of David Kleiman,
                                                        Plaintiﬀ-Appellant,
           W&K INFO DEFENSE RESEARCH, LLC,
                                                                  Plaintiﬀ,
           versus
           CRAIG WRIGHT,


                                                       Defendant-Appellee.


                               ____________________
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                       Appeal from the United States District Court
                           for the Southern District of Florida
                            D.C. Docket No. 9:18-cv-80176-BB
                                ____________________

           Before WILSON, ROSENBAUM, and LUCK, Circuit Judges.
           PER CURIAM:
                  This appeal involves an ownership dispute stemming from
           the origins of the cryptocurrency Bitcoin. The Estate of David Klei-
           man (“Estate”) sued Craig Wright, an Australian computer scien-
           tist and self-described inventor of Bitcoin, claiming that (David)
           Kleiman and Wright, who were friends, formed a partnership to
           develop the original Bitcoin protocol, to mine bitcoin, and to de-
           velop related blockchain technology. The Estate asserts that it is
           entitled to half of the bitcoins—purportedly worth billions—mined
           through the alleged partnership. A jury ultimately found that no
           partnership existed and returned a verdict against the Estate, which
           now appeals. 1
                   On appeal, the Estate asserts that the verdict should not
           stand for three reasons. First, in the Estate’s view, the district
           court’s instructions on partnership formation did not accurately re-
           flect current law under Florida’s Revised Uniform Partnership Act
           of 1995 (“FRUPA”), Fla. Stat. §§ 8001 et seq. Second, according to

           1 The jury also returned a verdict in favor of plaintiff W&K Info Defense Re-

           search, LLC, on its conversion claim in the amount of $100 million. That ver-
           dict is not at issue, and W&K is not a party to this appeal.
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           the Estate, the court applied the wrong legal standard and abused
           its discretion when it vacated sanctions imposed by the magistrate
           judge that would have deemed as true essential factual elements of
           the Estate’s partnership claim. And third, the Estate maintains that
           the district court abused its discretion by denying a new trial based
           on opposing counsel’s repeated violations of an in limine order pro-
           hibiting evidence of the “sibling relationship” between David Klei-
           man and Ira Kleiman, David’s brother and the personal representa-
           tive of the Estate. We consider each argument in turn, but ulti-
           mately, we affirm.
                               I. JURY INSTRUCTIONS
                  In evaluating jury instructions, our standard of review is
           “simultaneously de novo and deferential.” Bhogaita v. Altamonte
           Heights Condo. Ass’n, Inc., 765 F.3d 1277, 1285 (11th Cir. 2014). That
           is, “[w]e review jury instructions de novo to determine whether
           they misstate the law or mislead the jury to the prejudice of the
           objecting party but give the district court wide discretion as to the
           style and wording employed.” Id. (quotation marks omitted).
                  Under longstanding Florida law, a “partnership is created
           only where both parties contribute to the labor or capital of the
           enterprise, have a mutuality of interest in both profits and losses,
           and agree to share in the assets and liabilities of the business.” Wil-
           liams v. Obstfeld, 314 F.3d 1270, 1275 (11th Cir. 2002) (quotation
           marks omitted); see Kislak v. Kreedian, 95 So. 2d 510, 514 (Fla. 1957).
           In other words, a partnership “must consist of the following ele-
           ments: (1) a common purpose; (2) a joint proprietary interest in the
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           subject matter; (3) the right to share profits and duty to share losses;
           and (4) joint control or right of control.” Williams, 314 F.3d at
           1275–76. “These requirements are strictly construed and the ab-
           sence of even one is fatal to the finding of a partnership.” Dreyfuss
           v. Dreyfuss, 701 So. 2d 437, 439 (Fla. 3d DCA 1997); see Austin v. Du-
           val Cnty. Sch. Bd., 657 So. 2d 945 (Fla. 1st DCA 1995).
                   The Estate admits that the district court’s instructions to the
           jury were consistent with this caselaw, notably Williams and Drey-
           fuss. But, in the Estate’s view, these decisions are not controlling
           because the alleged partnerships at issue predated FRUPA, which
           took effect in 1995. The Estate maintains that FRUPA replaced the
           strict common-law test, which required four or five factors to be
           proven, “with a totality of the circumstances test, under which no
           single factor is dispositive.”
                  Florida law requires statutes enacted “in derogation of the
           common law [to] be strictly construed.” Ady v. Am. Honda Fin.
           Corp., 675 So. 2d 577, 581 (Fla. 1996). “[A]ny legislative intent either
           to abolish or to limit the common law must indicate such change
           clearly, or else the rule of common law stands.” Larmoyeux v. Mont-
           gomery, 963 So. 2d 813, 820 (Fla. 4th DCA 2007).
                  Here, the Estate has failed to show that FRUPA abrogated
           the common law or otherwise changed the rules of partnership for-
           mation relevant to its claim. FRUPA’s general rules for partnership
           formation are largely unchanged from the Uniform Partnership
           Act (“UPA”), which Florida adopted in 1972. Pinellas Cnty. v. Lake
           Padgett Pines, 333 So. 2d 472, 474 (Fla. 2d DCA 1976); see generally
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           John Larson, Florida’s New Partnership Law: The Revised Uniform
           Partnership Act and Limited Liability Partnerships, 23 Fla. St. U. L.
           Rev. 201, 205–06 (1995).
                   For instance, the Estate relies on FRUPA’s definition of a
           partnership: “[T]he association of two or more persons to carry on
           as co-owners a business for profit forms a partnership, whether or
           not the persons intend to form a partnership.” Fla. Stat.
           § 620.8202(1). But UPA similarly defined a partnership as “an asso-
           ciation of two or more persons to carry on as co-owners a business
           for profit.” Larson, supra at 205 n.9. FRUPA merely added the
           clause, “whether or not the persons intend to form a partnership,”
           and “recast” UPA’s “definition” as an “operative rule of law.” Fla.
           Stat. § 620.8202, cmt. n.1. Notably, “[n]o substantive change in the
           law [was] intended” by these modifications. Id.
                  The Estate also cites FRUPA’s profit-sharing presumption.
           Among its rules for “determining whether a partnership is
           formed,” FRUPA provides that “[a] person who receives a share of
           the profits of a business is presumed to be a partner.” Fla. Stat.
           § 620.8202(3)(c) (emphasis added). That marked a changed from
           UPA, which stated a person’s receipt of profits of a business was
           “prima facie evidence” that the person was a partner. Larson, supra
           at 205 n.9. Thus, FRUPA “recast[s]” the sharing of profits as a “re-
           buttable presumption of a partnership, a more contemporary con-
           struction, rather than as prima facie evidence thereof.” Fla. Stat.
           § 620.8202, cmt. n.3. Beyond that, though, “no substantive change
           [was] intended” to the profit-sharing rule. Id.
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                    These minor revisions cannot sustain the Estate’s claim that
           FRUPA substituted a new test for determining partnership for-
           mation, let alone clearly so. See Larmoyeux, 963 So. 2d at 820. After
           all, “[l]ike its predecessor, [F]RUPA makes no attempt to answer in
           every case whether a partnership is formed.” Fla. Stat. § 620.8202,
           cmt. n.3. While FRUPA revised UPA’s partnership definition to
           clarify that intent to form a partnership is not relevant to for-
           mation, intent is not one of the four required factors Williams iden-
           tifies for establishing a partnership. 314 F.3d at 1275–76. It does
           not follow that, because intent is not relevant, courts must evaluate
           the other factors under a totality-of-the-circumstances approach.
                   Nor is such an approach required because FRUPA “recast”
           the sharing of profits as a “rebuttable presumption of a partnership,
           . . . rather than as prima facie evidence thereof.” Fla. Stat. §
           620.8202, cmt. n.3. As the party asserting its existence, the Estate
           bore the burden of establishing the formation of a partnership by a
           preponderance of the evidence. See, e.g., Watson Realty Corp. v.
           Quinn, 435 So. 2d 950, 950 (Fla. 1st DCA 1983) (“[P]laintiff's burden
           of proof is that of a preponderance or greater weight of the evi-
           dence.”). And the application of a rebuttable presumption is not
           inconsistent with requiring a jury to apply the four partnership fac-
           tors listed above, since it’s up to the jury to determine whether any
           such presumption has been rebutted.
                   Notably absent from the Estate’s briefing is any Florida
           caselaw that supports its position. The Estate cites one Florida case
           that cites FRUPA but is otherwise silent about the issues here. See
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            Rafael J. Roca, P.A. v. Lytel & Reiter, Clark, Roca, Fountain & Wil-
            liams, 856 So. 2d 1, 5–6 (Fla. 4th DCA 2003) (distinguishing but not
            criticizing Dreyfuss). The Estate’s other cases that do address simi-
            lar issues are from out of state and of limited persuasive value. 2
            Even assuming we would endorse a more flexible approach as a
            matter of first impression, we are governed by existing Florida law.
            And we see no indication that Florida courts have moved away
            from the common-law test.
                    For these reasons, FRUPA did not abrogate prior caselaw on
            partnership formation insofar as it required proof of certain factors.
            See Larmoyeux, 963 So. 2d at 820. Accordingly, we reject the Es-
            tate’s claim that the district court erred in instructing the jury on
            partnership formation.
                                        II. SANCTIONS
                    “We review a district court’s order denying a motion for
            sanctions for abuse of discretion.” Fuentes v. Classica Cruise Operator
            Ltd., Inc., 32 F.4th 1311, 1321 (11th Cir. 2022). This standard gives
            the district court a “range of choice” so long as the court does not
            rely on an erroneous legal standard or make a clear error of judg-
            ment. Id.; see Higgs v. Costa Crociere S.P.A. Co., 969 F.3d 1295, 1304


            2 For example, Ingram v. Deere concerns the Texas Revised Partnership Act,
            which expressly listed five factors that indicated partnership formation and
            therefore “contemplate[d] a less formalistic and more practical approach to
            recognizing the formation of a partnership.” 288 S.W.3d 886, 895 (Tex. 2009).
            No similar list is contained in FRUPA, so we cannot draw a similar inference.
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            (11th Cir. 2020). “In other words, a district court has broad, yet not
            unbridled, discretion in deciding whether to impose evidentiary
            sanctions.” Fuentes, 32 F.4th at 1321 (quotation marks omitted).
                                      A. Background
                    During litigation, the Estate sought discovery from Wright
            about his bitcoin holdings, which it believed were relevant to es-
            tablish the universe of bitcoin mined during the alleged partnership
            between David Kleiman and Wright. A magistrate judge broadly
            agreed and, on March 14, 2019, ordered Wright to produce a list of
            his bitcoin holdings as of the last day in 2013, the year David died.
                    Wright resisted, asserting that the information was impossi-
            ble to produce. The gist of his position, as developed over several
            filings and in testimony at an evidentiary hearing, was as follows.
            In 2011 or 2012, Wright transferred ownership of all bitcoin he had
            mined or acquired or would acquire to the Tulip Trust, of which
            he was both a trustee and beneficiary. Information about the
            Trust’s bitcoin was locked in an encrypted file protected by a “Sha-
            mir’s Secret Sharing Algorithm”—an algorithm created by Adi Sha-
            mir to divide a secret, such as a private encryption key, into multi-
            ple parts. The key to the encrypted file was split into fifteen “key
            slices” and distributed through the Trust. Wright controlled seven
            of the eight key slices required to access the bitcoin address infor-
            mation, and so was without access on his own. Nonetheless,
            Wright indicated that, based on an arrangement with David before
            his death, he expected to receive another key slice by bonded cou-
            rier in 2020.
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                    Following an evidentiary hearing on the Estate’s motion to
            compel, during which Wright testified, the magistrate judge en-
            tered an order imposing sanctions against Wright under Rule 37,
            Fed. R. Civ. P. The magistrate judge completely rejected Wright’s
            story of his inability to comply, finding that he had offered willfully
            false testimony, supported by fraudulent documents, about the
            Trust and the encrypted file as “part of a sustained and concerted
            effort to impede discovery into his bitcoin holdings.”
                    The magistrate judge then turned to the “question of a
            proper remedy.” The magistrate judge found that Wright’s “will-
            ful and bad faith pattern of obstructive behavior” had prejudiced
            the Estate by preventing it from obtaining evidence relevant to its
            partnership claim. Finding that “[n]o lesser sanction would suf-
            fice,” the magistrate judge awarded reasonable expenses and attor-
            ney’s fees and “deem[ed] the following facts to be established for
            purposes of this action” (the “Deemed Facts”):
                   (1) Dr. Wright and David Kleiman entered into a
                   50/50 partnership to develop Bitcoin intellectual
                   property and to mine bitcoin;
                   (2) any Bitcoin-related intellectual property devel-
                   oped by Dr. Wright prior to David Kleiman’s death
                   was property of the partnership,
                   (3) all bitcoin mined by Dr. Wright prior to David
                   Kleiman’s death (“the partnership’s bitcoin”) was
                   property of the partnership when mined; and
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                    (4) Plaintiffs presently retain an ownership interest in
                    the partnership’s bitcoin, and any assets traceable to
                    them.
            The magistrate judge also struck certain affirmative defenses to
            conform to the Deemed Facts.
                    Wright appealed to the district court, arguing that the mag-
            istrate’s judge’s order was without evidentiary support, exceeded
            the scope of the matters before the magistrate judge, and would
            deprive Wright of his rights to due process and a fair trial.
                   In an order entered on January 10, 2020, the district court
            denied relief in part and granted relief in part. The court agreed
            with the magistrate judge’s decision to discredit Wright’s testi-
            mony, which was “the sole evidence put forward to establish [his]
            claim of impossibility.” 3 Concluding that Wright had “willfully ob-
            structed” the discovery process and denied the Estate evidence rel-
            evant to its claim, the court found that sanctions were warranted
            in the form of reasonable attorney’s fees and expenses.
                    But the district court agreed with Wright that the sanctions
            deeming certain facts as true, and striking certain affirmative de-
            fenses as a result, were “improperly imposed.” The court stated
            that, in its view, the sanctions were not “specifically related to the



            3 The district court also stated that, even if his testimony was true, Wright still

            failed to show he made “in good faith all reasonable efforts to comply” with
            his discovery obligations, warranting sanctions.
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            particular discovery abuse at issue,” and did little to “cure” that dis-
            covery abuse—that is, Wright’s failure to identify the extent of his
            bitcoin holdings. Accordingly, the court found that these sanctions
            were “not proper.”
                    Notably, the district court agreed to “indulge” Wright’s rep-
            resentations that a bonded courier could soon arrive with the key
            slices necessary to generate a list of his bitcoin holdings. The court
            indicated that, if “this mysterious figure has appeared from the
            shadows” and Wright produced a list of his holdings, then no addi-
            tional sanctions would be imposed. But if the courier did not ar-
            rive, and the Estate was not given access to information “directly
            relevant” to their claims, the court found that “additional sanctions
            would be warranted.” The court specifically noted that it would
            inform the jury of Wright’s failure to disclose the information
            sought by the Estate, extend the discovery period, and consider any
            renewed discovery requests by the Estate.
                   Just four days later, Wright filed a notice stating that “a third
            party has provided the necessary information and key slice to un-
            lock the encrypted file,” and that he had “produced a list of his
            bitcoin holdings, as ordered by the [m]agistrate [j]udge, to plaintiffs
            today.”
                   After discovery closed and Wright had moved for summary
            judgment, the Estate filed an “Omnibus Sanctions Motion.” The
            Estate accused Wright of an ongoing and unrepentant campaign of
            forgery, perjury, and obstruction, making a mockery of the pro-
            ceeding and preventing the Estate from proving its claims. The
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            Estate requested that the district court invoke its inherent authority
            to sanction Wright by imposing judgment by default, or by effec-
            tively reinstating the Deemed Facts.
                    In a June 2020 order, the district court reviewed the Estate’s
            allegations in detail and denied the motion for sanctions. The court
            was sympathetic to the Estate, stating that it depicted “unsettling
            issues” about whether Wright had “committed perjury, produced
            forgeries, and engaged in judicial abuse” since the court’s January
            2020 order. But the court explained that “significant factual dis-
            putes abound” over these issues, which would ordinarily be within
            the province of the jury to decide, and it found insufficient cause to
            remove the case from the jury. The court also declined to impose
            lesser sanctions.
                                       B. Discussion
                    The Estate contends that the district court abused its discre-
            tion when it vacated the Deemed Facts sanctions that the magis-
            trate judge imposed. In support of this contention, the Estate
            claims that the court applied an erroneous legal standard that con-
            flicts with Rule 37, and that, even if it applied the correct standard,
            the court failed to account for the prejudice to the Estate’s case.
                   We start with a point of clarification. Although the Estate
            references the June 2020 order denying its omnibus sanctions mo-
            tion, and the allegations made therein, the Estate does not plainly
            and prominently appeal that ruling. See Sapuppo v. Allstate Floridian
            Ins. Co., 739 F.3d 678, 681 (11th Cir. 2014) (“A party fails to ade-
            quately brief a claim when he does not plainly and prominently
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            raise it, for instance by devoting a discrete section of his argument
            to those claims.” (quotation marks omitted)). Rather, the sub-
            stance of its argument relates almost entirely to the January 2020
            order vacating the Deemed Facts sanctions imposed by the magis-
            trate judge. Accordingly, the Estate has abandoned any appeal of
            the June 2020 ruling. See id.
                   Thus, this appeal concerns only the January 2020 ruling. As
            to that ruling, the district court did not abuse its discretion by va-
            cating sanctions that the magistrate judge imposed that would have
            deemed as true essential factual elements of the Estate’s partner-
            ship claims. The Estate has not shown that the court relied on an
            erroneous legal standard or made a clear error of judgment.
                   Rule 37(b) gives “district judges broad discretion to fashion
            appropriate sanctions for violation of discovery orders.” Consumer
            Fin. Prot. Bureau v. Brown, 69 F.4th 1321, 1330 (11th Cir. 2023)
            (cleaned up). Such sanctions may include “directing that the mat-
            ters embraced in the order or other designated facts be taken as
            established for purposes of the action, as the prevailing party
            claims,” or “striking pleadings in whole or in part.” Fed. R. Civ. P.
            37(b)(2)(A).
                     “The broad discretion of the district court to manage its af-
            fairs is governed, of course, by the most fundamental safeguard of
            fairness: the Due Process Clause of the Fifth Amendment.” Serra
            Chevrolet, Inc. v. Gen. Motors Corp., 446 F.3d 1137, 1151 (11th Cir.
            2006). “To comply with the Due Process Clause, a court must im-
            pose sanctions that are both ‘just’ and ‘specifically related to the
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            particular ‘claim’ which was at issue in the order to provide discov-
            ery.” Id.
                   First, we are not convinced that the district court relied on
            an erroneous legal standard. The court accurately quoted and de-
            scribed Serra Chevrolet, where we vacated a Rule 37 sanction on
            due-process grounds for lack of a “relationship with the discovery
            abuse,” not just the claim more broadly. 446 F.3d at 1152.
                    Moreover, the district court’s order reflects that its sanctions
            decision was an exercise of its broad discretion in discovery mat-
            ters, not a determination that the Deemed Facts sanctions neces-
            sarily violated due process. The court described the sanctions as
            “not proper,” rather than “not authorized,” or the like. The court
            also gave Wright another chance to comply and indicated it would
            impose additional sanctions if he again failed to provide a list of his
            bitcoin holdings, which reflects that the court was yet to make a
            final sanctions decision in relation to that discovery issue.
                   Second, the district court did not make a clear error of judg-
            ment in vacating the magistrate judge’s Deemed Facts sanctions.
            When the court issued its January 2020 ruling, there was a possibil-
            ity, however remote, that Wright would soon comply with the
            magistrate judge’s discovery order and provide the Estate with the
            information it had requested, mitigating any prejudice to its case
            and reducing the need for further curative measures. So it was rea-
            sonable at that time to postpone consideration of sanctions more
            drastic than an award of attorney’s fees until it became clear
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            whether the Estate would receive a list of Wright’s bitcoin hold-
            ings. Then, shortly after the court’s order, Wright in fact produced
            a list of bitcoin holdings. While the Estate disputes the origin and
            authenticity of this list, with supporting evidence, those issues were
            raised in the Estate’s omnibus sanctions motion, filed several
            months later. And the Estate has not appealed the denial of that
            subsequent decision, as we explained above, so we will not con-
            sider those matters here.
                            III. MOTION FOR NEW TRIAL
                    We review a ruling on a motion for a new trial for an abuse
            of discretion. McGinnis v. Am. Home Mortg. Servicing, Inc., 817 F.3d
            1241, 1255 (11th Cir. 2016). “Deference to the district court is par-
            ticularly appropriate where a new trial is denied and the jury’s ver-
            dict is left undisturbed.” Id. (quotation marks omitted).
                    A party is entitled to a new trial where opposing counsel’s
            misconduct “impaired a substantial right of the objecting party.”
            Ruiz v. Wing, 991 F.3d 1130, 1141 (11th Cir. 2021) (quotation marks
            omitted). “Inappropriate statements made by counsel will not jus-
            tify a new trial unless the remarks were such as to impair gravely
            the calm and dispassionate consideration of the case by the jury.”
            Id. (quotation marks omitted). “We consider the entire argument,
            the context of the remarks, the objection raised, and the curative
            instruction.” Id. (quotation marks omitted).
                   Before trial, the district court granted the Estate’s motion in
            limine to exclude “[e]vidence about Ira Kleiman’s sibling-relation-
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            ship with [David] Kleiman.” The one exception was an alleged din-
            ner conversation on Thanksgiving in 2009 in which, according to
            Ira, David made comments suggesting that he was developing
            Bitcoin with another person. But, in the court’s view, whether Ira
            “visited his brother at the hospital, spoke to him infrequently, or
            whether Mr. Kleiman mentioned Ira Kleiman to others has limited
            probative value but substantial capacity to cause undue prejudice.”
            In particular, the court stated, it raised “significant concerns” that
            jurors would decide the case based “on how ‘good’ of a brother Ira
            [Kleiman] was or whether [he] ‘deserves’ Dave [Kleiman’s] for-
            tune.”
                   The Estate maintains that opposing counsel knowingly and
            repeatedly violated the in limine order by putting improper infor-
            mation before the jury. On cross-examination, Wright’s counsel
            questioned Ira about issues bearing on the sibling relationship, in-
            cluding whether Thanksgiving 2009 was the “last day you saw your
            brother in person,” whether he ever “saw [David] in the hospital,”
            whether he didn’t “learn of Dave’s death until a few days after his
            body was found,” and how frequently he spoke with his brother in
            the “last 13 months of your brother’s life.” Wright’s counsel also
            briefly showed the jury an exhibit with unredacted statements that
            Ira had “limited contact and personal knowledge as to David’s fi-
            nancial affairs throughout David’s life.” And the jury may have
            seen another unredacted exhibit stating that “Ira never saw [David]
            at the hospital.” Wright’s counsel also asked another witness, a
            close friend of David’s, how often he heard of Ira from David. The
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            Estate objected to some, but not all, this alleged misconduct, and
            the district court sustained some, but not all, the objections.
                    Following the adverse jury verdict, the Estate moved for a
            new trial, arguing that opposing counsel’s violations of the order in
            limine so prejudiced the jury that a new trial was warranted. The
            district court disagreed and denied the motion. The court first
            found that the Estate had effectively waived its challenge by failing
            to object to some questions or to seek a remedy at trial, such as a
            curative instruction. The court further reasoned that, even assum-
            ing the claim of error was preserved, it was “not persuaded that
            [defense counsel’s] purported misconduct was so prejudicial as to
            warrant a new trial.”
                  We assume without deciding that the Estate properly pre-
            served its objections to any alleged breaches of the in limine order.
            And we agree that some of the questions and comments—includ-
            ing whether Ira visited David at the hospital and how frequently he
            spoke with him—were improper and violated the in limine order.
                   That said, the district court, having overseen the 21-day trial,
            was in the best position to assess whether the misconduct gravely
            impaired the jury’s dispassionate consideration of the case. Only
            the court “had the opportunity to hear the offensive remarks
            within the context of the arguments and to view their effects on
            the jury.” Vinson, 12 F.4th at 1277 (quotation marks omitted).
                   The Estate has failed to show that deference to the district
            court’s decision is not appropriate here. See McGinnis, 817 F.3d at
            1255. For starters, the Estate has not addressed the court’s finding
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            that some of the alleged misconduct concerned other “proper pur-
            poses,” including “establishing the implausibility of the Thanksgiv-
            ing Day 2009 conversation, relevant dates, and Ira Kleiman’s per-
            sonal knowledge of David Kleiman’s finances.” And as the court
            observed, opposing counsel “never urged the jury at any point dur-
            ing trial . . . to decide the Estate’s claims on an improper basis,” and
            the court repeatedly instructed jurors that their decision must be
            based on the evidence presented, and that they must not be influ-
            enced by any sympathy for or prejudice against any party. A jury
            is presumed to follow its instructions, and we see nothing to indi-
            cate that the jury in this case did otherwise. See United States v. Col-
            ston, 4 F.4th 1179, 1192 (11th Cir. 2021) (“We always presume that
            a jury follows its instructions.”).
                   The Estate largely rests its claim of prejudice on a juror’s
            comments in a Law360 article after the trial. 4 In the article pub-
            lished on December 23, 2021, an anonymous juror was quoted as
            stating, in regard to Ira, “In three years he didn’t go to the hospital?
            That clouded my view as far as what the actual record stated.” But
            that same juror also recalled how two holdouts for the Estate had
            pored through all the evidence and “finally realized there was no
            positive connection with bitcoin,” and that the Estate had failed to



            4 Carolina Bolado, No Proof Bitcoin ‘Inventor’ Owed Friend, Juror Tells Law360,

            Law360 (December 23, 2021), available at https://www.law360.com/arti-
            cles/1451020/no-proof-bitcoin-inventor-owed-friend-juror-tells-law360
            [https://perma.cc/4QVD-CQ4A].
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            convince the jury that David was involved in developing the
            Bitcoin technology or mining bitcoins.
                    The Law360 article does not present grounds to grant a new
            trial. First, the juror’s comments were equivocal, at best, about the
            effect of the alleged misconduct, and they suggest that the jury
            would have found against the Estate regardless of whether any mis-
            conduct occurred. And second, these kinds of posttrial comments
            by jurors—relating to the jury’s deliberations and a juror’s mental
            processes—are not competent evidence to impeach a verdict. See
            Fed. R. Evid. 606(b)(1) (“During an inquiry into the validity of a
            verdict or indictment, a juror may not testify about any statement
            made or incident that occurred during the jury’s deliberations; the
            effect of anything on that juror’s or another juror’s vote; or any
            juror’s mental processes concerning the verdict or indictment.”);
            see also Al-Amin v. Warden Ga. Dep’t of Corr., 932 F.3d 1291, 1297
            (11th Cir. 2019) (noting that federal law “permit[s] the introduction
            of jury testimony to impeach a verdict only in rare circumstances”).
                    For these reasons, the Estate has failed to show that the dis-
            trict court abused its broad discretion by denying a new trial. See
            McGinnis, 817 F.3d at 1255.
                                    IV. CONCLUSION
                   In sum, we affirm the district court’s judgment.
                  AFFIRMED.
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                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303


   David J. Smith                                                                       For rules and forms visit
   Clerk of Court                                                                       www.ca11.uscourts.gov


                                             October 26, 2023

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 22-11150-GG
    Case Style: Ira Kleiman v. Craig Wright
    District Court Docket No: 9:18-cv-80176-BB

    All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
    unless exempted for good cause. Although not required, non-incarcerated pro se parties are
    permitted to use the ECF system by registering for an account at www.pacer.gov. Information
    and training materials related to electronic filing are available on the Court's website.

    Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
    entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with
    FRAP 41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
    filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
    provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
    timely only if received in the clerk's office within the time specified in the rules. Costs are
    governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
    attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested
    Persons a complete list of all persons and entities listed on all certificates previously filed by
    any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
    reheard must be included in any petition for rehearing or petition for rehearing en banc. See
    11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
    compensation for time spent on the appeal no later than 60 days after either issuance of mandate
    or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
    the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
    system.
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    Pursuant to Fed.R.App.P. 39, costs taxed against the appellant.

    Please use the most recent version of the Bill of Costs form available on the court's website at
    www.ca11.uscourts.gov.

    Clerk's Office Phone Numbers
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    Case Administration: 404-335-6135          Capital Cases:               404-335-6200
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                                                           OPIN-1A Issuance of Opinion With Costs
